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 showed lung abnormalities in up to 17%, 8% and 6% of employees with

 under six years of work. (Exhibit 11, Charts 035a, 035b and 035c attached).

 While these workers likely had community exposures prior to going to work

 for W.R. Grace, it is also likely that exposure at Grace was their first high

 intensity exposure.

         Consistent with these findings is Cookson (1986), Fig. 1, finding that

 about 20% of workers with abnormal films reached "onset of asbestosis (i.e.

 progression from category 0 to category 1)" (p.996) after just 8 years of work

 exposure to amphibole asbestos (Exhibit 12).

         Disease at an early age is common in the Libby cohort. Per CARD

 Clinic records, 65 patients are in their 30s and 189 patients are in their 40s.

This statement is based upon a total of 1,957 patients on 9/13/06.

         50,     DLCO (diffusion capacity) is a particularly important indicator of

the severity of impairment in the Libby asbestos disease patients. We find

that the DLCO defect is the leading indicator of severity in the' Libby'cohort, _.

and has the greatest correlation with shortness of breath and the timing of

the patient's entry to oxygen treatment. In some cases there is significant

asbestos disease on the chest x-ray and only the DLCO is reduced, not the

FVC or TLC. Some patients with severe shortness of breath are severe only

in the DLCO defect. In Whitehouse (2004), p.224, 76% of the 123 patients


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 had progressive loss of lung function. Losses were about the same for FVC,

 TLC and OLCO at 2%-3% per year.

         In the CARO mortality study, among those who died of non-malignant

 asbestos diseases, 47% (29/61) had only OLCO under 65 (out of FVC, TLC

 and OLCO).

         The Rosenstock text, p.371, states: "The earliest and most sensitive

 finding in asbestosis is frequently a diminished diffusion capacity, which

 may occur in isolation or in combination with other findings." The 2005

 Public Citizen comment by Or. Michael Harbut, Or. Philip J. Landrigan, Or.

Alan C. Whitehouse and Or. L. Christine Oliver states that OLCO is "essential

to determine how badly a person's lungs are impaired." Exh. 16.

         OLCO (diffusion capacity) defect is probably associated with

subpleural interstitial fibrosis. Whitehouse (2004) explains:

                Pleural changes alone are unlikely to cause a decrease
                in OLCO. OLCO decreases are likely to be associated
                with interstitial disease not apparent clinically on either - -           _.-
                plain chest radiograph or HRCT.

        It does not appear that decline in diffusion capacity (OLCO) is

significant in U.S. cohorts with predominately chrysotile exposure.

        51.     Similarly, Alfonso (2005), in an amphibole study, finds an

"average rate of-decline of OLCO ... [of] about 2.2% per year [0.55/24.8] in

subjects with asbestosis." Alfonso (2005), p.184, also states: "Compared

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 with never smokers, current smokers and ex-smokers had lower DLCO at

. baseline, but smoking status did not affect the change in DLCO during the

 follow-up period (four years for men)." Wang (1996), Figure 3 shows that

 asbestos exposure depresses DLCO more than does smoking.

         In another amphibole study, Cookson (1983), abstract, states "[t]he

 ratio of transfer factor to effective alveolar volume correlated directly with

 the degree of pleural thickening as alveolar volume fell with increasing

 severity of pleural disease." Cookson, p.660, observes that reduced DLCO

 "in patients with asbestos induced pleural disease suggests covert

 parenchymal asbestosis." This is consistent with the statement from

Whitehouse (2004) quoted above.

         52.     Chronic severe pleural pain occurs in a significant percentage of

the Libby cohort at one time or another in the course of the disease. It is

common in Libby patients with diffuse pleural thickening. It is often initially

misunderstood by outside physicians as cardiac chest pain. Lockey (1984)

similarly reports pleural pain in a cohort of workers in Ohio who were

processing Libby vermiculite. Mukherjee et al (2000) report on a group of

mineworkers and residents of Wittenoom, Australia, all exposed to

amphibole asbestos (crocidolite). 43% (556 of 1,280) report chest pain

(abstract). Yates (1996), p.304, in another amphibole study reports "chest


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 pain is a common feature of DPT." For non amphibole exposures, "chronic

 severe pleural pain is rare in patients with asbestos related pleural disease."

 ATS (2004), p.702. ATSDR (200S), p.36, states that with diffuse pleural

 thickening "the patient may experience progressive dyspnea and chest pain."

 The Fishman text, p.946 states regarding diffuse pleural thickening: "The

 diffuse nature of the lesion often leads to pulmonary symptoms, including

 dyspnea on exertion,.chronic·dry cough, and chest pain." ATS (2004) Official

 Statement, p:695, states that generally in asbestos disease: "a non-

 productive cough is commonly present." A chronic dry cough is common in

 Libby patients.

G.       Amphibole toxicity.

         53.     Amphibole asbestos in general and Libby asbestos in particular

are more carcinogenic and fibrogenic (productive of asbestos related

disease) than is chrysotile asbestos. The Greenberg text, p.4S0, states:

                 Several studies have also shown that worker cohorts
                 exposed to higher concentrations of amphibole
                 fibers have higher lung cancer rates than those
                 exposed to similar concentrations of chrysotile
                 asbestos.... This pattern of increased toxicity of
                 amphiboles also holds true for all the other asbestos-
                 related lung diseases (asbestosis, pleural disease,
                 and mesothelioma).

ATS (2004) Official Statement, p.693 states that a reason given for the

greater toxicity of amphiboles is that chrysotile fibers "are cleared more

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 efficiently than amphibole asbestos fibers, which may be retained

 indefinitely." ATS (2004) Official Statement. p.693. See also McDonald

 (2004), p.366.

         54.      The Fraser and Pare text, p.1 075, states "exposure to amphibole

 fibers ... is associated with a significantly greater risk of carcinoma

 compared to chrysotile exposure."

         55.     Amphibole asbestos appears to be at least 4x as carcinogenic as

 chrysotile. Hodgson et al (2000) (abstract: the "risk differential between

 chrysotile and the two amphibole fibers for lung cancer is thus between 1:10

 and 1:50"). Antman (1993), p.373S, states: 'amphiboles are about 10 times

 as carcinogenic as chrysotile." EPA (2003) Final Draft, p.1.4 states that:

 amphiboles are about 4x as carcinogenic as chrysotile; EPA (2003) Report,

 p.3-1 states: "according to the' proposed risk assessment methodology"

 amphibole fibers have a five fold greater lung cancer potency than do

, chrysotile fibers." Also, see Stayner (1996). abstract: "there is little evidence

to indicate lower lung cancer risk" for chrysotile.

        56.     Tremolite asbestos, which appears to be a close relative to the

Libby amphibole asbestos, is considerably more carcinogenic than

chrysotile asbestos. See McDonald ,(1997), Table 1. American Thoracic

Society (1990), p.14,56, states: "[a]sbestiform varieties of tremolite, are



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 highly carcinogenic." Case (1991), p.494, states regarding an animal study:

 "[s]ignificantly, the tremolite fibers were amongst the most carcinogenic

 tested, with actual incidence of 75% and 'percent tumor probability' of

 100%." Also, McDonald (2004), calling the Libby asbestos "fibrous

 tremolite," found in a cohort of 406 Libby miners a 240% increase in

 respiratory cancer (Table 2).

         57.     Amphibole asbestos fibers are variously estimated at 100x to

 1,000x as productive of mesothelioma as chrysotile fibers. EPA (2003) Final

 Draft, p.1-4 uses a factor of 1,OOOx ("for mesothelioma the best estimate of

the coefficient (potency) for chrysotile is only 0.0013 times that for

amphibole"). Hodgson (2000), abstract, uses a factor of 100x to 500x, ("at

exposure levels seen in occupational cohorts, it is concluded that the

exposure specific risk of mesothelioma from the three principal commercial

asbestos types is broadly in the ratio on: 100:500 for chrysotile, amosite

and crocidolite respectively").

        58.     Amphibole fibers are more fibrogenic than are chrysotile fibers.

McDonald (1999) (abstract: "this study suggests that amphibole fibers,

including tremolite, are more fibrogenic than chrysotile, perhaps to the same

extent that they are carcinogenic"). The same study indicates at Table 1 that

Quebec tremolite asbestos fibers are at least two times as fibrogenic as



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 chrysotile. McDonald (2004) demonstrates that in 406 Libby miners, deaths

 due to non-malignant respiratory disease were at 309% of the U.S. rate.

         59.      Amphibole asbestos appears to be more than twice as likely to

 produce asbestosis and asbestos pleural disease which is radiographically

 progressive, than is chrysotile asbestos. Compare the following

 predominately chrysotile studies: Jones et al (1989), Gregor et al (1979) and

 Becklake et al (1979), with the following amphibole studies: Sluis-Cremer et

 al (1989). Cookson et al (1986), Ehrlichet al (1992), and McDonald et al

 (1999). See the chart "Studies on Radiographic Progression of Asbestos

 Disease." Exhibit 13. Jones et al (1989), abstract states: "there was ... a

greater likelihood of progression in the plant that had systematic use of

some crocidolite."

         In most patients with asbestos disease (including asbestos pleural

disease) from exposure to amphibole asbestos; the. asbestos disease is

progressive. Sluis-Cremer (1989), p.852, states regarding subjects with

predominately amphibole exposure, "it appears that once·a dose of asbestos

sufficient to initiate the disease has been retained, it is inexorably

progressive." Mossman and Churg (1998), p.1669 state: "Biopersistence is

probably responsible for the much greater tendency of amosite or

crocidolite-induced asbestosis to progress, compared to chrysotile-induced



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 asbestosis.'1

          Cookson (1986), presents Fig. I, (attached as Exhibit 12) a chart

 showing that 34 years after first crocidolite exposure approximately 97% of

 workers with abnormal films progressed radiographically to at least mild

 disease, 77% to at least moderate disease and 65% to at least severe

 disease. Crocidolite, .Iike Libby asbestos is an amphibole. Based on my

 experience, I believe the numbers for the Libby workers would be similar.

 Cookson (1986) is consistent with the high rate offunctional disease

 progression (76%) found in Whitehouse (2004) in 123 patients with

 exposures to Libby amphibole.

 H.      Obstructive Defect and asbestos-related disease.

         60.     Restrictive disease restricts what is breathed in. Obstructive

disease obstructs what is breathed out.

         Asbestos disease has been generally thought to be predominately a

restrictive··disease. The scarring in the lung lining (pleura) and in the lung air

sacs and structure (parenchyma) restricts the lungs' ability to expand on

inhalation.

        Smoking disease is an obstructive disease. It obstructs what is

breathed out. With emphysema, the lung tissue acts like an over expanded

balloon. It does not constrict back to its natural form. Hence exhalation is


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 obstructed.

          61.     Smoking causes emphysema and chronic bronchitis. ATS

 (1995), p. 578, states:

                 Emphysema is defined as abnormal. permanent enlargement of
                 the air spaces distal to the terminal bronchioles accompanied by
                 destruction of their walls and without obvious fibrosis.

                 Chronic bronchitis is defined as the presence of chronic
                 productive cough for three months for at least two successive
                 years.

                 Chronic obstructive pulmonary disease (COPD) is defined as a
                 disease state characterized by the presence of airflow
                 obstruction due to chronic bronchitis or emphysema.

 ATS (1995), p.79, states: "[o]nly about 15% of cigarette smokers develop

 clinically significant COPD."

         62.     Generally the differences between obstructive disease due to

smoking and restrictive disease due to asbestos can be sorted out on

pulmonary function tests. The sorting process is seriously complicated by

the fact that asbestos disease often causes airway·obstruc!fon,.or

obstructive disease. Markowitz et al (1997) used 0.70 as the norm for

persons under 60, and 0.65 for ages 60 and over. ATS/ERS (2005)

"Interpretative Strategies for Lung Function Tests," p.949, states: "The

practice of using 0.70 as a lower limit of the FEV1/FVC ratio results in a

significant number of false positive results in males >40 years and females


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  >50 years."

          63.     It is generally accepted that ARD causes obstructive disease.·

 The ATS (2004) 011icial Statement, p.710, states: "The association between

 airway obstruction and exposure to asbestos has been well demonstrated in

 non-smokers, and in some studies the association between exposure and

 airway obstruction is seen·only among non-smokers." And, ATS (2004)

 Official Statement, p.708, states "asbestos exposure has long been known to

 be associated with an obstructive physiological abnormality." The Fishman

text, p.950, states: "mild airway obstruction·can also be seen in non-

smokers with asbestosis." The Rosenstock text, p.371, states: "In addition

to parenchymal effects, asbestos can cause air flow obstruction." The Fraser

and Pare text, p.2445, states: "Many patients, however, show some degree

of airway obstruction as well, as a result of asbestos-induced bronchiolar

fibrosis." This means association with obstructive· defect.

         MorinecentiyOhar et al (2004) reviewed data on-3;383 asbestos

exposed workers in "the Selikoff registry." At page 751, the authors state:

'In this analysis of 3,383 subjects, we have shown that airways obstruction is

more commori than restriction in asbestos exposed individuals currently

undergoing evaluation. These results confirm the findings of Kilburn and

colleagues (31, 39, 40, 43) and supports published clinical pathologic


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 correlates. Churg et al (46) have shown that asbestos exposure results in

 small airways disease.... in this study the effects of exposure to both

 cigarette and asbestos acted additively to induce airways obstruction."

         64.      The Fishman text, p.604-605, states: '~he hallmark of the

 obstructive pattern is a Teduction in the FEV,/FVC percentage ... Typically,

 all three lung volumes - residual volume, functional residual capacity, and

 total lung capacity are increased." Normal for FEV,/FVC is generally 70

 percent or higher. Markowitz, et al (1997),.p.. 102, used a ratio of 70 as

 normal for ages under 60 and a normal of 65 for those 60 or older. I concur

with that. For hyperinflation in obstructive disease, TLC or RV must be

abnormal, at over 120 percent of predicted.

         65.     A restrictive pattern is generally described as a reduction in

forced vital capacity (FVC) and total lung capacity (TLC), with the FEV,/FVC

ratio remaining normal. The Fishman text, p.607, states: ''The diagnosis of

restriction is based opon the finding of a normal FEV,NC (ratio) and reduced

VG in the setting of a reduced TLC ... residual volume is usually reduced." .

        66.      Very often there is an obstructive pattern associated with Libby

amphibole asbestos disease. An obstructive pattern has been associated

with asbestos pleural disease in the literature. ATS (2004) Official

Statement, p.708 states: "Asbestos related chronic airway obstruction may



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 result in reduction in the FEV,/FVC ratio, associated with reduced FEV, (29,

 76, 113, 127)." Schwartz (1990), p.323, states "diffuse pleural thickening was

 associated with modest decrements in the FEV,/FVC ratio." See also

 Schwartz (1990), p.323, Table 4. Obstructive defect, with a reduced

 FEV,IFVC ratio, is a significant factor in many Libby patients with diffuse

 pleural thickening, arid may become severe enough to cause significant

 obstructive airway disease in the absence of any other cause. As noted by

 Ohar-et al (2004), where the asbestos exposed patient also has a history of

 smoking, the two may be additive in causing obstructive defect.

        67.      ATS (2004) Official Statement, p.697, states: "Mixed restrictive

and obstructive impairment is frequently seen; isolated obstructive

impairment is unusual." The Rosenstock text, p.371 states: "A mixed

restrictive and obstructive impairment is also common (with greater

reductions in FEV, than FVC, resulting in a diminished FEV,/FVC ratio. : ..

Asbestos-related airflow obstruction interacts with the effects of smoking, -

resulting in more pronounced obstructive changes.... Total lung capacity

(TLC) is generally an insensitive measure of functional impairment. A result

of the competing forces on TLC in mixed restrictive and obstructive

impairment, with a reduction in TLC rehited to restrictive disease and an

increase in TLC related to concurrent obstructive air trapping." ATS (2004)


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 Official Statement, adds '10tallung capacity may be normal when both

 disorders are present, due to a restrictive process offsetting air trapping."

 Likewise "the obstructive - restrictive combination can produce an overall

 normal spirometric test result." 2005 Public Citizen comment by Dr. Michael

 Harbut, Dr. Philip J. Landrigan, Dr. Alan C. Whitehouse and Dr. L. Christine

 Oliver. Exh.16.

         Mixed disease is frequently seen in the Libby cohort. Interestingly, in

the Markowitd1997) 'study of asbestos insulators at Table 5, mixed

 restrictive and obstructive disease produced a higher risk of death than did

restrictive disease alone or obstructive disease alone.

I.       Other studies on Libby patients.

         68.     In 2000, I performed a review of causes of death in certain

workers at the W.R. Grace mine. This was not a comprehensive study.

Available death certificates and medical records were reviewed. Most of the

death certificates came from the records of W.R. Grace & Co. I identified-100

workers from the W.R. Grace mine and mill who had died of asbestos

related disease. Of the 100, 49 died of asbestos lung cancer, 11 died of

mesothelioma and 40 died of asbestos related fibrotic disease (including

'asbestos pleural disease). See Exhibit 14 "Workers Dead from Asbestos

Disease."


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          McDonald (2004) followed up on a cohort of 406 Libby miners. That

 study found, as of 1998, 107 total deaths, with 44 of respiratory cancer, 12 of

 mesothelioma and 51 of non-malignant respiratory disease (NMRD, a

 somewhat broader category than asbestos related disease). The numbers in

 McDonald (2004) and the evaluation I did appear to be quite similar.

         Sullivan (2007) followed up on the entire cohort of 1,672 Libby

 mineworkers. Sullivan (2007), Table 1, finds as of 2001,767 total deaths,

 with .99 by lung cancer, .15 by mesothelioma, 40 by asbestosis and 111 by

 non-malignant respiratory disease NMRD (which include the 40 asbestosis

 deaths).

         69.     The CARD Clinic in December 2005 performed a study

comparing chest x-ray readings on 44 patients by CARD doctors, by ATSDR

readers, and by Grace hired dottors. In the fall of 2005, the Grace Libby

Medical Plan sent letters of denial to about a quarter of those enrolled in the

plan. This was done through·the plan administrator Health Network of··.....

America (HNJ,\). The denials were based on chest x-ray readings by dociors

hired by the Grace Plan showing no asbestos disease. The Center for

Asbestos Related Disease in Libby took the first 70 letters of denial brought

in by patients, and compared the CARD readings against those by the U.S.

Agency for Tox.ic Substances and Disease Registry (ATSDR), where


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 available, and readings by outside doctors, where available. 44 of the 70

 patients with Grace Plan denials had had chest x-rays read by the ATSDR in

 connection with screenings done in 2000 and 2001. See Peipins et al (2003).

 In 27 of 44 cases, the ATSDR confirmed the CARD finding of asbestos

 disease. Fourteen times the ATSDR readers on balance agreed with the

 Grace Plan hired doctors. There were three ties. In sum, the ATSDR was

 about 2x as likely to confirm the CARD readings. See Exhibit 15, Audit of

 HNA Denials and Downgrades of Severity of Disease (December 2005

revised).

         Sixty-eight of the 70 patients denied by the Grace Plan had had chest

x-rays and/or CT scans read by Dr. Steven Becker, radiologist at the SI.

John's Hospital in Libby.. On 51 of 68 patients, Dr. Becker concurred with

CARD. On the 17 where Dr. Becker did not concur, 16 of 17 CARD chest x-

ray readings were confirmed by CT or other outside reading. On the one

remaining, the CARD Clinic agrees that its initial reading was incorrect.··

        70.      In 2007, an audit was done upon the chest x-ray readings by Dr.

David Weill~ who was hired by W.R. Grace & Co. to read chest x-rays on 380

patients of the Center for Asbestos Related Disease. In many cases Dr. Weill

read chest x-rays with dates on or near the dates of chest x-ray screenings

done in Libby by the ATSDR. These chest x-rays were read by independent


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